Case 1:16-cv-02287-GBD-SN Document 16-11 Filed 05/18/16 Page 1 of 7

EXHIBIT
C
ON 202008,

MOTIONICASE IS RESPECTFULLY REFERRED TO JUSTICE

FOR THE FOLLOWING REASON(S): -

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SUPREME COURT OF THE STATE OF NEW YORK — NEW YORK COUNTY

PRESENT: __MARCY_S. FRIEDMAN PART_57__

Justice

 

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The following papers, numbered 1 to were read on this motion ta/for re x ‘és YmePry

PAPERS NUMBERED

Notlce of Motlon/ Order to Show Gause — Affidavits — Exhibits ... |

Answering Affidavits — Exhibits 2
Replying Affidavits

Cross-Motion: (| Yes cENE

Upon the foregoing papers, it Is ordered that this motion — | S

 

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DECIDED IN ACCORDANCE WITH
ACCOMPANYING DECISION/ORDER.

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Dated: a (37 05 ‘a
MARCY S-FRIEDMAN | us.c.
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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK — PART 57

PRESENT: Hon. Marcy S. Friedman, JSC

 

JAMES BRADY and JANE BRADY,
Index No.:603741/07

 

Plaintiff,
DECISION/ORDER
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In this action for injunctive and declaratory relief, plaintiffs move for leave to reargue
defendants’ motions for summary judgment dismissing the amended complaint, and plaintiffs’
cross-motion for summary judgment on their first through third causes of action, The motions
were decided by decision and order of this court dated July 2, 2008 (“prior decision”).

Leave to reargue is granted. Upon reargument, the court adheres to its prior decision,
including its holding that defendant 450 West 31° Owners Corp. (“Owners Corp.”) “is the owner
of the TDRs [transferable development rights] that were conveyed by the contract of sale to [co-
defendant] Extell, and that paragraph 7 of the second amendment to the Offering Plan does not

convey or reserve the TDRs to plaintiffs.” (Prior Decision at 4. See Macmillan, Inc. v CF Lex

 

Assocs., 56 NY2d 386, 392 [1982] [“[A]ir nights, at the heart of the concept of zoning lot
merger, have historically been conceived as one of the bundle of rights associated with
ownership of the land rather than with ownership of the structures erected on the land.”).)

Paragraph 7 states: “The 12" floor and roof unit shall have, in addition to the utilization

 
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of the roof, the right to construct or extend structures upon the roof or above the same to the
extent that may from time to time be permitted under applicable law.” As held in the prior
decision, paragraph 7 is not ambiguous and “gives plaintiffs the right to build structures on or
above the roof but does not convey air rights to plaintiffs.” (Id. at 3.) As further held, “air rights
existed and were well! known in the real estate community in 1980 when the Offering Plan was
amended to add paragraph 7. Had the parties, who were sophisticated business people, intended
to convey or reserve air rights to the 12” floor and roof units, they could easily have expressly so
provided.” (Jd, at 3.)' The court adheres to its prior rejection of plaintiffs’ argument that while
they do not own the TDRs, they control them and therefore have the right to extend their existing
penthouse structure by an additional 190,000 square feet. (Id. at 4.) While the prior decision did
not expressly reject plaintiffs’ claim that paragraph 7 requires Owners Corp. to obtain their
consent or waiver before any sale of the TDRs, the court here rejects that claim which was not
supported by any legal authority.

Contrary to plaintiffs’ contention, this court’s holding that Owners Corp. owns and
controls the TDRs does not abrogate plaintiffs’ right to construct structures on or above the roof
pursuant to paragraph 7. It is well settled that a right to maintain or construct roof-top structures

may co-exist with the transfer of development rights. (See Wing Ming Props. (U.S.A.) Lid. v

 

'On the prior motions, all of the parties took the position that paragraph 7 was unambiguous and
should be interpreted without extrinsic evidence. While the court did not consider extrinsic evidence
submitted by the parties on the motions, the court notes parenthetically that plaintiffs’ themselves submit
substantial evidence showing that they knew at the time they were negotiating for the purchase of their
unit that Owners Corp. was negotialing a sale of the air rights of the building to Extell; that it was
anticipated that there would be a distribution to the shareholders of the building of proceeds from the
sale; and that plaintiffs objected not to Owners Corp.'s control over or sale of the air rights, but to the
price Owners Corp. was willing to take for the sale. (See Ps.’ Aff In Opp. To Ds.’ Prior Motion, Exs. Q,
8.)

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Mott Operating Corp., 79 NY2d 1021 [1992].)

The issue of whether plaintiffs’ existing penthouse structure can be expanded without
using, or with minimal use, of the TDRs was not presented to the court on the prior motions. As
noted in the prior decision, “[t]aking the position that they are entitled to the broad declaration
that they control all the air rights, plaintiffs [did] not, in the alternative, seek a more limited
declaration as to whether specifically identified structures may be erected on the roof.” (Prior
Decision at 5.) Nor did plaintiffs provide any factual details as to the particular structures they
planned to erect on the roof. (Id.) On this reargument motion, plaintiffs acknowledge that they
did not provide such factual details, but justify their decision not to do so based on their claim
that they have the right to construct a building of a size up to the square footage of the air rights.
(See Aff. of Nathan Ferst, Esq. In Support of Motion to Reargue [‘Ferst Aff.”’] at 16.)

Plaintiffs continue to take the all-or-nothing position that they have the right to construct
or extend structures of the full size permitted by the “‘as-of-right air rights,” which they quanufied
on the prior motion as 190,000 square feet and now describe as 38,500 square feet. (Ferst Aff. at
16). Plaintiffs assert that “[t]he magnitude of the right to construct or extend structures upon the
roof or above same that might become available from time to time is not restricted in the footnote
[paragraph 7], nor is the time period restricted. Whatever the magnitude of the right is, from
timc to time permitted by applicable law (even if unanticipated by the author of the footnote
amendment), possession of this right belongs to the shareholder of the 12"" floor and roof unit.”
(Id. at 17.) Plaintiffs’ claim, then, is that as a result of a change to the Zoning Resolution which
increased permissible development in the Hudson Yards area in 2005, 25 years after the Offering

Plan was issued, they are entitled to add “several floors” to their current penthouse structure and

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thus, in effect, to construct a new building on top of the existing building. (See id. at 16.) The
prior decision, which this court reaffirms on reargument, rejects this untenable claim.

It is noted that as of the date of the oral argument of this reargument motion, the contract
between Owners Corp. and Extell had been terminated by agreement between those parties. To
the extent that plaintiffs argued on the prior motions that the proposed Extell development would
have infringed on their existing structure or right to build, that claim is moot. Moreover, as
indicated above, plaintiffs did not develop a record that would have permitted a declaration as to
whether they can expand their existing structure in any respect without using Owners Corp.’s
TDRs.

While the court adheres to its prior decision, the prior order should not only have
dismissed plaintiffs’ complaint but granted a declaration consistent with ihe decision. The order
will accordingly be modified in this respect.

It is hereby ORDERED that leave to reargue is granted and, upon reargument, the court
adheres to its prior decision; and it is further

ORDERED that Owners’ Corp.’s motion for summary judgment is granted to the extent
of dismissing the first through seventh causes of action of the complaint; and it is further

ORDERED, ADJUDGED, and DECLARED that Owners’ Corp. is the owner of, and has
the right to transfer, the transferable development rights (“TDRs”) that are granted or permitted,
pursuant to the Zoning Resolution, to the parcel of land on which the building known as 450
West 31" Street, New York, New York is located; and it ts further

ORDERED, ADJUDGED, and DECLARED that paragraph 7 of the second amendment

to the Offering Plan does not convey or reserve the TDRs to plaintiffs; and that, pursuant to

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paragraph 7, plaintiffs have, in addition to the utilization of the roof, the right to construct or
extend structures upon the roof or above the same to the extent that may from time to time be
permitted under applicable law. Provided that: Nothing herein shall be construed as holding that
plaintiffs have the right to use all or any part of the TDRs in connection with such construction or
extension; and it is further

ORDERED that Extell’s motion for summary judgment is denied as moot; and it is
further

ORDERED that plaintiffs’ motion for summary judgment is denied; and it is further

ORDERED that the branch of plaintiffs’ motion to dismiss the Extell defendants’
counterclaims is denied as moot based on the parties’ stipulation, dated November 13, 2008,
discontinuing all claims and counterclaims between plaintiffs and the Extell defendants.

This constitutes the decision, order, and judgment of the court.

Dated: New York, New York
March 13, 2009

MARCY /FRIEDMAN, iSC,

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